Case 1:14-ml-02570-RLY-TAB Document 22450 Filed 07/29/22 Page 1 of 2 PageID #:
                                 132635



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION



In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                  Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                     MDL No. 2570


This Document Relates to:

Leroy Dawson

Civil Case # 1:22-cv-06837-RLY-TAB



                                 NOTICE OF APPEARANCE

To: The Clerk of Court and all parties of record:


       I am admitted or otherwise authorized to practice in this Court, and I appear in this

case on behalf of Plaintiff set forth in the above referenced matter.



                                                    Respectfully submitted,

                                                     /s/ Jennifer Rethemeier
Dated: 7/29/22                                      Jennifer Rethemeier
                                                    (Admitted Pro Hac Vice, AZ Bar No. 031398)
                                                    DALIMONTE RUEB STOLLER, LLP
                                                    2425 E. Camelback Road, Suite 500
                                                    Phoenix, Arizona 85016
                                                    Tel: (602) 892-0341
                                                    Fax: (855) 203-2035
                                                    jennifer.rethemeier@drlawllp.com

                                                    Lead Counsel for Plaintiff
Case 1:14-ml-02570-RLY-TAB Document 22450 Filed 07/29/22 Page 2 of 2 PageID #:
                                 132636



                                CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.


                                                      /s/ Jennifer Rethemeier
                                                     Jennifer Rethemeier




                                                2
